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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


   FEDERAL TRADE COMMISSION,

                     Plaintiff,
                                                         Case No. 1:20-cv-03590-JEB
                v.

   FACEBOOK, INC.,

                     Defendant.




             FACEBOOK, INC.’S MOTION TO DISMISS FTC’S COMPLAINT

         Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, and for the reasons set

forth in the accompanying memorandum of law, Defendant Facebook, Inc., by and through its

undersigned counsel, hereby moves this Court for an order dismissing with prejudice the Federal

Trade Commission’s Complaint for Injunctive and Other Equitable Relief, ECF No. 51, for

failure to state a claim upon which relief can be granted.

         Facebook respectfully requests oral argument on its motion pursuant to Local Civil Rule

7(f ).

DATED: March 10, 2021                         Respectfully submitted,


                                              /s/ Mark C. Hansen
                                              Mark C. Hansen (D.C. Bar No. 425930)
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                                              Counsel for Defendant Facebook, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2021, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a Notice of

Electronic Filing to all counsel of record.



                                              /s/ Mark C. Hansen
                                              Mark C. Hansen (D.C. Bar No. 425930)
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